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15                            UNITED STATES DISTRICT COURT
16                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
     JAMES MILLER, et al.,                        Case No. 3:19-cv-01537-BEN-JLB
18
19                       Plaintiffs,              Hon. Roger T. Benitez
                                                  Magistrate Hon. Jill L. Burkhardt
20
           vs.                                    DECLARATION OF D. ALLEN
21
                                                  YOUNGMAN IN SUPPORT OF
22 XAVIER BECERRA, in his official                PLAINTIFFS’ MOTION FOR
   capacity as Attorney General of                PRELIMINARY INJUNCTION
23 California, et al.,
24                                                Complaint filed:August 15, 2019
                       Defendants.                Amended Complaint filed:
25
                                                  September 27, 2019
26
27                                                Hearing Date: January 16, 2020
                                                  Time: 10:00 a.m.
28                                                Courtroom: 5A, 5th Floor

         DECLARATION OF D. ALLEN YOUNGMAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1                       DECLARATION OF D. ALLEN YOUNGMAN
 2 I, D. Allen Youngman, declare as follows:
 3       1. I am and have been the Executive Director of the Defense Small Arms
 4 Advisory Council (DSAAC) since its founding in 2004. I have personal knowledge of
 5
   the facts stated in this declaration, and if called as a witness, could competently testify
 6
   thereto.
 7
        2. My declaration is executed in support of Plaintiffs’ motion for preliminary
 8
 9 injunction.
10       3. I served in the United States Army for more than 34 years in a variety of
11 assignments including Infantry, Special Forces, and Armor units; and retired from
12 active duty, at the rank of Major General, in 2003. I am a graduate of the Army War
13 College and hold a bachelor’s degree in Political Science from the University of
14
   Kentucky and a Juris Doctorate from the University of Kentucky College of Law. Prior
15
   to returning to full-time active duty with the United States Army, I practiced law in
16
   Owensboro, Kentucky and served as a prosecuting attorney from 1981-1985.
17
        4. The DSAAC is a 501(c)(6) trade association comprised of U.S.-based military
18
19 and law enforcement small arms manufacturers. DSAAC represents the small arms and
20 light weapons segment of the defense industry with the Department of Defense, the
21 Department of State, and international fora including the United Nations and is a
22 UN-recognized Non-Governmental Organization (NGO) providing technical advice on
23 all aspects of the global firearms trade.
24
         5. As part of my professional responsibilities and training in the military, and
25
     within this industry, I have necessarily become familiar with modern firearms, small
26
     arms, and the firearms trade. I am also a senior firearms instructor for the Daviess
27
28 County Sheriff’s Office, and a graduate of the Kentucky Department of Criminal Justice
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 1 Training Law Enforcement Firearms Instructor Course.
 2                                       THE AR-15 DESIGN
 3        6. The AR-15 is a descendent of the ArmaLite Corporation’s AR-10. The AR-10
 4
     was, at the time of its conception in 1955, highly innovative. The weapon featured
 5
     heavy use of aluminum and polymer parts, being very lightweight compared to
 6
     contemporary arms of primarily wood and steel construction. It featured a barrel,
 7
     locking assembly, and stock in a straight line, significantly reducing recoil and
 8
 9 improving controllability. The AR-10 design also featured a fairly easily removable
10 barrel, wherein the barrel and locking component are permanently fused as a single unit.
11 This means barrel changes in the AR-pattern can be performed without affecting
12 “headspace” (a critical dimension for the safe operation of any firearm, which requires
13 specialized equipment to set and inspect in many firearms). The AR-10 was chambered
14
     in the 7.62x51mm NATO standard cartridge, what is now considered a “full power”
15
     rifle cartridge.
16
          7. There are essentially three classes of small arms ammunition cartridge: (1)
17
18 “pistol/handgun” (such as 9mm Luger and .45 ACP), (2) “intermediate” (such as
19 5.56mm NATO and 7.62x39 Russian), and (3) “full power” rifle (such as 7.62x51mm
20 NATO and 8x57mm Mauser). “Intermediate” cartridges are so-called because their
21 weight and energy is in between “pistol/handgun” and “full power” rifle ammunition.
22     8. In the early stages of the Vietnam War, comparisons between the intermediate
23
     cartridge AK-47 on the side of the Viet Cong and the American’s more conventional
24
     M14 evidenced a difficulty on the part of Americans to carry enough ammunition to
25
     maintain fire superiority over enemy combatants carrying intermediate arms. A single
26
27 round of 7.62x51mm rifle ammunition weighs just under an ounce, where a round of
28 intermediate AK-47 ammunition weighs about half an ounce. This effectively doubled
                                                   -2-
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 1 the amount of ammunition an individual could carry.
 2       9. Seeking an intermediate weapon of their own, the U.S. Continental Army
 3 Command (CONARC) suggested the development of a 5.56mm caliber service rifle
 4
   weighing around 6 pounds when loaded with 20 rounds of ammunition in 1957. The
 5
   ArmaLite Corporation submitted a scaled-down version of its full-power AR-10 rifle for
 6
   testing in 1958. This rifle was called the ArmaLite AR-15. CONARC testing found that
 7
   soldiers equipped with AR-15 rifles could carry three times more ammunition than the
 8
 9 contemporary M14 rifle and that the AR-15 was three times more reliable.
10       10. After more testing and minor changes, the design was sold to Colt. The AR-15
11 was ultimately adopted into U.S. Military Service as the M-16. Shortly thereafter, Colt
12 introduced a line of semiautomatic-only AR-15 rifles as the “Colt AR-15,” which it
13 marketed to civilians and law enforcement.
14
         11. In 1980, NATO Draft Standardization Agreement 4179 (STANAG) proposed
15
     the magazine dimensions of the AR-15 magazine to be standard for all NATO member
16
     countries, so that NATO members could easily share rifle ammunition and magazines if
17
18 needed. Although the agreement was never ratified and thus discarded and remains a
19 draft, most NATO members have adopted or modified their service weapons to accept
20 AR-15 STANAG magazines (for example the Spanish CETME-L, British SA-80, and
21 French FA-MASItalian AR-70, and Belgian FNC were all designed or re-designed to
22 accept STANAGAR-15 magazines). Standard capacities were set at 20 or 30 rounds,
23
   but the concept only governed the critical dimensions and controls of the magazine,
24
   meaning a host of capacities are possible while retaining interoperability.
25
        12. The only intellectual property respecting the AR-15 pattern of firearm is the
26
27 term “AR-15” itself, which remains the property of Colt. The design itself is in the
28 public domain. As a result, and due the firearm’s generally favorable reputation, a host
                                                  -3-
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 1 of manufacturers began producing the design under a litany of different names, often
 2 with the “-15” suffix. The modularity of the original design and ease of component
 3 swapping has seen the AR-15 thrust into virtually every avenue of firearms that are
 4
   used, from home defense, to target shooting, to hunting, and militia service.
 5
              SUITABILITY OF THE AR-15 RIFLE FOR MILITIA SERVICE
 6
         13. American state militias have a long history of prioritizing, and even requiring,
 7
   the ownership of effective and interoperable equipment. New Hampshire’s 1687 militia
 8
 9 act, for example, required all persons over the age of 16 maintain “a well fixed musket”
10 about .75 caliber. 1 Law of New Hampshire: Province Period 221 (Albert Stillman
11 Batchellor ed., 1904). Virginia’s 1784 militia act required men aged 18 to 50 to keep “a
12 good clean musket, carrying an ounce ball” (about .69 caliber, a standard caliber of the
13 era) and “a cartridge box properly made, to contain and secure twenty cartridges,”
14
     among other equipment. 11 William Waller Henning, The Statutes at Large: Being a
15
     Collection of All the Laws of Virginia, from the First Session of the Legislature, in the
16
     Year 1619, at 478-79 (1823). These acts ensured that, if called to muster, militiamen
17
18 would have equipment that was both combat effective and largely cross-compatible at
19 the individual level.
20       14. The AR-15 pattern of rifle, with its highly standardized and interchangeable
21 component parts, is a firearm not just well-suited, but ideal for militia service. The
22 rifle’s use of STANAG magazines and common ammunition, its reliability, low cost,
23
   and light weight, serve the same purposes sought to be achieved by the drafters of our
24
   Founding Era militia acts.
25
         15. The modularity and extreme standardization of the AR-15 makes it an ideal
26
27 weapon for militia service. For example, with few notable exceptions, AR-15 rifles can
28 interchange trigger mechanisms, bolt and locking components, barrels, magazines,
                                                  -4-
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 1 buttstocks, optical sights, bayonets, and other assorted furniture, with few specialized
 2 tools. Further, even if two AR-15s might be set up for vastly different uses (for
 3 example, long-range versus short-range engagement), the majority of wearable
 4
   components remain interchangeable.
 5
       16. The parts interchangeability of the AR-15 platform means any militia field
 6
   armorer need with a short list of components could service the militia’s standard rifles,
 7
   as well as special purpose armament. It also means that virtually any standard rifle
 8
 9 could be equipped by said armorer for a special purpose. It is most certainly in the best
10 interest of the militia for militiamen to have their arms serviceable in such a consistent,
11 economical, and efficient way as is afforded virtually uniquely by the AR-15 platform.
12       17. Modern, semi-automatic firearms are also designed to be used, and are sold
13 with ammunition feeding devices, called ammunition magazines (or simply,
14
   “magazines”). A magazine is simply “a receptacle for a firearm that holds a plurality of
15
   cartridges or shells under spring pressure preparatory for feeding into the chamber.
16
   Magazines take many forms, such as box, drum, rotary, tubular, etc. and may be fixed
17
18 or removable.” See: http://saami.org/glossary/. The vast majority of the firearms sold
19 at retail to law enforcement and the civilian markets today are semi-automatic,
20 particularly handguns, and which contain removable magazines.
21       18. It is generally well-known, well-accepted, and indisputable that AR 15 pattern
22 rifles are commonly owned by millions of persons in the United States, for a variety of
23
   lawful purposes, including recreational target shooting, competition, home defense,
24
   collecting, militia service and hunting.
25
         19. For all of these reasons, including the ubiquity, commonality, and widespread
26
27 ownership of the AR-15 rifle, in common chamberings as .223 and 5.56 x 45mm, and
28 the interchangeability of parts, including magazines, make the AR-15 particularly well
                                                  -5-
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 1 suited for modem militia service in the United States.
 2       I declare under penalty of perjury that the foregoing is true and correct. Executed
 3 on December 4, 2019.
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       DECLARATION OF D. ALLEN YOUNGMAN IN SUPPORT OF PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION
